Case 2:04-cv-02555-SHI\/|-dkv Document 17 Filed 07/18/05 Page 1 of 2 Page|D 34

.FR£D'FY_M“__CMI
UNITED sTATEs DISTRICT cotm'r
wEsTERN DISTRICT oF TENNESSEE ,
wEsTERN DIvIsIoN 05 JUL |8 PH 5' 05

 

JANICE L. SHIRLEY,
Plaintiff,
v. Cv. NO. 04-2555-Ma

UNITED STATES DEPARTMENT OF
TRANSPORTATION,

Defendant.

J'UDGMENT
Decision fur Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action iS dismissed in
accordance with the Order Granting Defendant’s Motion to Dismiss,
docketed July 14, 2005.

APPROY;M

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

F\J.\ {X, leaf

 

 

 

DATE

 

Tmsdmmmmnememdonmedoc idea _crnEmme
with Huie on and,for 79{a) FP.CP on_ ij_' l § §§

l`) …DISICT oURT - WESTER D"ISRICT oF TNNESSEE

thice of Distribution

This notice confirms a copy cf the document docketed as number 17 in
case 2:04-CV-02555 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

S. NeWtcn Anderson

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

Memphis7 TN 38103--246

Harriett M. Halmcn

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

chorable Samuel Mays
US DISTRICT COURT

